                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI

Sentencing Minute Sheet for the Honorable Fernando J. Gaitan, Jr., Chief U. S. District Judge,
Kansas City, MO

UNITED STATES OF AMERICA                            Case No: 08-00297-02-CR-W-FJG
vs.
JEROME SHADE HOWARD                                 Date: 7/23/2010

Plaintiff Counsel                                   Defendant Counsel
Linda Parker Marshall, AUSA                         Ronald Partee, CJA

Time Commenced: 9:57 a.m.                   Time Terminated: 10:24 a.m.
                             TOTAL TIME: 27 minutes

Parties appear for hearing. Defendant sworn. There are no objections to the PSIR, and the Court
adopts the guideline provisions w/o change. Court notes sentencing memos filed. Government
counsel makes oral motion for downward departure and for leave to file the written motion under
seal - both motions granted. Counsel make statements regarding sentence to be imposed.
Defendant makes statement and allocution granted.

The Defendant is sentenced to Counts 1 and 27.
INCARCERATION: defendant committed to the custody of the BOP for a total term of 36
Months. Counts 1 & 27 - 36 months, each count, concurrent.
SUPERVISED RELEASE: defendant to be placed on 3 Years of supervised release. Counts 1 &
27: 3 years, each count, concurrent.
FINE: Waived.
SPECIAL ASSESSMENT: $200.00 due immediately.
RESTITUTION: $5,945,996.73 due immediately, joint and several, w/interest waived.

Mandatory drug testing is waived.

SPECIAL CONDITIONS OF SUPERVISED RELEASE OR PROBATION: See J&C for
special conditions of supervised release or probation.

Upon oral motion of government counsel, the preliminary order of forfeiture is finalized and
imposed and remaining counts are dismissed.

Upon defendant’s request, the Court recommends that defendant serve the period of incarceration as
close to southern CA as possible, in particular Terminal Island.

Defendant to self-surrender to BOP on     09/20/10 .



Court Reporter: Gayle Wambolt                       Rhonda Enss, Courtroom Deputy




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